
957 So.2d 159 (2007)
Stacy Michael MEAUX
v.
Lucille GALTIER, et al.
No. 2006-CC-2026.
Supreme Court of Louisiana.
May 18, 2007.
In re Hammond, Geraldine; Hammond, John et al.;  Defendant(s); Applying for Supervisory and/or Remedial Writs, Parish of Lafayette, 15th Judicial District Court Div. H. No. 2003-1042-H2; to the Court of Appeal, Third Circuit, No. CW 06-00811.
Granted. The judgment of the trial court denying relators' exception of prescription is vacated and set aside. The case is remanded to the trial court for reconsideration in light of this Court's decision in W.R.M. v. H.C.V., 06-0702 (La.3/9/07), 951 So.2d 172.
